
















IN THE COURT OF CRIMINAL APPEALS


OF TEXAS






NO. PD-1435-13






GIFFORD JOHNSON, III, Appellant



v.



THE STATE OF TEXAS





ON APPELLANT'S PETITION FOR DISCRETIONARY REVIEW


FROM THE FIRST COURT OF APPEALS


GALVESTON  COUNTY





		Per curiam.  Keasler and Hervey, JJ., dissent.


ORDER 



		The petition for discretionary review violates Texas Rule of Appellate
Procedure 9.4(i)(3) because it does not contain a certificate of compliance.  See also
Texas Rule of Appellate Procedure 9.4(i)(2)(D).

		The petition is struck.  See Texas Rule of Appellate Procedure 68.6.

		The petitioner may redraw the petition.  The redrawn petition must be filed
in the Court of Criminal Appeals within thirty days after the date of this order.

			

Filed: January 15, 2014

Do not publish


